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                 EXHIBIT 2
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Reg. No. 6,300,653         Yang, Xiaodong (CHINA INDIVIDUAL)
                           No. 1-6 Daqiao Road
Registered Mar. 23, 2021   Yuancheng District
Int. Cl.: 28               Heyuan, Guangdong, CHINA 517099
                           CLASS 28: Dominoes; Baby rattles; Bathtub toys; Clockwork toys; Electronic learning
Trademark                  toys; Face masks being playthings; Game apparatus, namely, bases, bats, and balls for
Principal Register         playing baseball-like indoor and outdoor games; Infant's rattles; Jump ropes; Knee pads
                           for athletic use; Parlor games; Pet toys; Plush dolls; Plush toys; Radio transmitters for
                           use with radio-controlled toys; Sand toys; Scale model kits; Spinning tops; Toy aircraft;
                           Toy animals; Toy building blocks; Toy building blocks capable of interconnection; Toy
                           cars; Toy dough; Toy masks; Toy models; Toy pinwheels; Toy telescopes

                           FIRST USE 3-3-2020; IN COMMERCE 3-3-2020

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                           ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                           The wording "Cibolar" has no meaning in a foreign language.

                           SER. NO. 90-101,013, FILED 08-07-2020
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         REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

       WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
              DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


    Requirements in the First Ten Years*
    What and When to File:


        • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
          years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
           registration will continue in force for the remainder of the ten-year period, calculated from the registration
           date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


        • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
          for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


    Requirements in Successive Ten-Year Periods*
    What and When to File:

        • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
          between every 9th and 10th-year period, calculated from the registration date.*

    Grace Period Filings*

    The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
    payment of an additional fee.

    *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
    extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
    Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
    time periods for filing are based on the U.S. registration date (not the international registration date). The
    deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
    issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
    renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
    registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
    Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
    international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
    registration, see http://www.wipo.int/madrid/en/.

    NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
    USPTO website for further information. With the exception of renewal applications for registered
    extensions of protection, you can file the registration maintenance documents referenced above online at
    http://www.uspto.gov.

    NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
    owners/holders who authorize e-mail communication and maintain a current e-mail address with the
    USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
    Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
    available at http://www.uspto.gov.




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